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           EXHIBIT 24
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Analysis of Scheduled Airline Traffic
COMPARATIVE TRAFFIC REPORT                                                                                            San Francisco International Airport
Jun 2024

                                                                                   Monthly Comparison                                           Fiscal Year-to-Date
                                                                Jun 2024              Jun 2023          % Change                 FY 23/24            FY 22/23    % Change
                                                    1               30,572                33,461              -8.6%                   379,839         369,974         2.7%
Air Traffic Control Tower Operations Count
                Air Carrier                                         28,436                30,124              -5.6%                   347,515         325,980         6.6%
                Air Taxi                                             1,446                  2,511            -42.4%                    22,931          33,247       -31.0%
                Civil                                                   437                   553            -21.0%                     6,693            7,883      -15.1%
                Military                                                253                   273             -7.3%                     2,700            2,864        -5.7%


Total Revenue Landings                                              14,119                15,290              -7.7%                   178,150         167,423         6.4%
         Mainline Passenger                                         12,062                11,869               1.6%                   136,216         128,643         5.9%
         Commuter Passenger                                          1,842                  3,202            -42.5%                    39,267          36,123         8.7%
         Cargo Only                                                     215                   219             -1.8%                     2,667            2,657        0.4%


Revenue Landed Weight (000 lbs.)                                2,998,652              3,024,435              -0.9%              35,384,827         32,350,429        9.4%


Total Airport Passengers2                                       4,660,638              4,681,758              -0.5%              51,292,995         47,052,180        9.0%

      Total Enplaned & Deplaned                                 4,647,504              4,665,618              -0.4%              51,130,271         46,905,174        9.0%
         Total Enplaned                                         2,379,631              2,399,561              -0.8%              25,515,536         23,419,568        8.9%
         Total Deplaned                                         2,267,873              2,266,057               0.1%              25,614,735         23,485,606        9.1%

            Domestic                                            3,122,403              3,315,599              -5.8%              35,980,031         34,381,130        4.7%
                Enplanements                                    1,588,124              1,695,181              -6.3%              17,983,862         17,177,004        4.7%
                Deplanements                                    1,534,279              1,620,418              -5.3%              17,996,169         17,204,126        4.6%

            International                                       1,525,101              1,350,019              13.0%              15,150,240         12,524,044        21.0%
                Enplanements                                       791,507               704,380              12.4%               7,531,674          6,242,564        20.7%
                Deplanements                                       733,594               645,639              13.6%               7,618,566          6,281,480        21.3%


Total U.S. Mail (metric tons)                                           939                 1,357            -30.8%                    16,889          25,009       -32.5%
      Domestic                                                          408                   894            -54.4%                     9,488          19,844       -52.2%
      International                                                     531                   463             14.7%                     7,401            5,165        43.3%


Total Cargo3 (metric tons)                                          53,074                41,803              27.0%                   518,501         429,112         20.8%
      Domestic                                                      16,741                14,643              14.3%                   188,174         162,990         15.5%
      International                                                 36,333                27,160              33.8%                   330,327         266,122         24.1%


Total Cargo and U.S. Mail (metric tons)                             54,013                43,159              25.1%                   535,390         454,121         17.9%


Cars Exited (Garage and Lot)                                       294,509               292,546               0.7%               3,175,305          3,010,733        5.5%

1
    Categories defined as follows:
         Air Carrier - Commercial airlines and charters of aircraft with more than 60 seats (Terminal and FBO operations included).
         Air Taxi - Commercial airlines and charters of aircraft with 60 seats or less (Terminal and FBO operations included).
         Civil - Privately operated aircraft
         Military - Military Aircraft
2
    Total airport passengers include total enplaned and deplaned passengers and passengers who fly into and out of SFO on the same aircraft.
3
    Excludes mail




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Analysis of Scheduled Airline Traffic
INTERNATIONAL SUMMARY REPORT                                                                                 San Francisco International Airport
Jun 2024



                                                                             Monthly Comparison                                         Fiscal Year-to-Date
                                                             Jun 2024            Jun 2023       % Change                  FY 23/24             FY 22/23     % Change
International Flight Operations                                    7,030               6,376           10.3%                  76,402               63,804      19.7%
Domestic Carriers                                                  2,776               2,548            8.9%                  31,204               24,982      24.9%
Foreign Flag Carriers                                              4,254               3,828           11.1%                  45,196               38,822      16.4%


Total Airport International Passengers **                     1,536,465           1,361,721            12.8%             15,287,232           12,652,380       20.8%

Total International Enplaned and Deplaned                     1,525,101           1,350,019            13.0%             15,150,240           12,524,044       21.0%

   Europe                                                       452,036             439,142             2.9%              4,064,382            3,892,851        4.4%
      Enplanements                                              242,055             233,205             3.8%              2,034,821            1,940,374        4.9%
      Deplanements                                              209,981             205,937             2.0%              2,029,561            1,952,477        3.9%

   Asia/Middle East                                             637,968             494,205            29.1%              6,374,479            4,420,495       44.2%
      Enplanements                                              331,144             253,707            30.5%              3,147,479            2,193,686       43.5%
      Deplanements                                              306,824             240,498            27.6%              3,227,000            2,226,809       44.9%

   Australia/Oceania                                             75,340              72,884             3.4%                 991,537             807,025       22.9%
      Enplanements                                               36,225              33,588             7.9%                 488,183             398,258       22.6%
      Deplanements                                               39,115              39,296            -0.5%                 503,354             408,767       23.1%

   Latin America                                                170,588             147,092            16.0%              1,830,449            1,659,167       10.3%
      Enplanements                                               88,184              76,552            15.2%                 919,860             835,432       10.1%
      Deplanements                                               82,404              70,540            16.8%                 910,589             823,735       10.5%

   Canada                                                       189,169             196,696            -3.8%              1,889,393            1,744,506        8.3%
      Enplanements                                               93,899             107,328           -12.5%                 941,331             874,814        7.6%
      Deplanements                                               95,270              89,368             6.6%                 948,062             869,692        9.0%


Total International Cargo & Mail (metric tons)                   36,864              27,623            33.5%                 337,728             271,288       24.5%
   Europe                                                          6,586               6,135            7.3%                  74,304               75,144       -1.1%
   Asia/Middle East                                              26,897              19,219            40.0%                 228,198             172,309       32.4%
   Australia/Oceania                                               3,313               1,959           69.1%                  33,400               20,943      59.5%
   Latin America                                                      50                   59         -15.2%                      642                 597       7.5%
   Canada                                                             17                 250          -93.2%                   1,184                2,295      -48.4%




** Total airport international passengers include total enplaned and deplaned passengers and passengers who fly into and out of SFO on the same aircraft




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